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Attorneys for Plaintiffs

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

KLOOSTERBOER INTERNATIONAL             )
FORWARDING LLC and ALASKA              )
REEFER MANAGEMENT LLC,                 )
                                       )
              Plaintiffs,              )
                                       )
        vs.                            )
                                       )    Case No.: 3:21-cv-00198 (SLG)
UNITED STATES OF AMERICA,              )
U.S. DEPARTMENT OF HOMELAND )
SECURITY, U.S. CUSTOMS AND             )
BORDER PROTECTION, and TROY A. )
MILLER, U.S. Customs and Border        )
Protection Acting Commissioner, in his )
official capacity,                     )
                                       )
              Defendants.              )
                                       )
                                       )

KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.            CASE NO. 3:21-cv-00198 (SLG)
PROPOSED ORDER FOR PRELIMINARY INJUNCTION                                   PAGE 1 OF 6




        Case 3:21-cv-00198-SLG Document 59-2 Filed 09/20/21 Page 1 of 6
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
                     PRELIMINARY INJUNCTION

       Upon due consideration of Plaintiffs’ Motion for a Preliminary Injunction, as

submitted pursuant to Federal Rule of Civil Procedure 65, IT IS ORDERED that the motion

is hereby GRANTED.


       Plaintiffs meet the requirements for injunctive relief under the “constitutional

tolling” doctrine. See Oklahoma Operating Co. v. Love, 252 U.S. 331 (1920) (Brandeis,

J.); United States v. Pac. Coast Eur. Conf., 451 F.2d 712, 717 (9th Cir. 1971). Plaintiffs

have shown that they are likely to prevail in establishing, through the bills of lading

submitted with each shipment and the Declaration of M. Christy McManus dated

September 17, 2021, that U.S. Customs and Border Protection (“CBP”) was aware of the

Bayside Canadian Railway (“BCR”) since at least as early as 2012, and have shown that

they raise “substantial questions” as to whether their due process and other constitutional

rights have been and will continue to be violated. See Pac. Coast, 451 F.2d at 717; see

also Oklahoma Operating Co. v. Love, 252 U.S. at 338 (where plaintiff raises “reasonable

ground” to contest government penalties as confiscatory, enforcement of penalties accrued

pendent lite is barred, even if plaintiff does not ultimately prevail). Given the extreme

penalties already assessed by CBP, and the continuing threat to Plaintiffs and others in their

supply chain that CBP will issue new penalty notices during this case, Plaintiffs face a

“Hobson’s choice” that they are constitutionally protected from having to make. Kansas-

KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.                     CASE NO. 3:21-cv-00198 (SLG)
PROPOSED ORDER FOR PRELIMINARY INJUNCTION                                            PAGE 2 OF 6




        Case 3:21-cv-00198-SLG Document 59-2 Filed 09/20/21 Page 2 of 6
Nebraska Nat. Gas Co. v. Dep’t of Energy, No. 79-4055, 1979 WL 998, at *4 (D. Kan.

July 31, 1979). To allow this legal challenge to proceed without threat of additional

penalties for alleged Jones Act violations, Plaintiffs have established a right to enjoin CBP

from ever issuing and enforcing any new penalty notices to Plaintiffs and any other

company in the supply chain of the Bayside Program during the period from the date of

entry of this order until the date of entry of the final judgment, while Plaintiffs are pursuing

their judicial and administrative remedies. See Pac. Coast, 451 F.2d at 717.


       Plaintiffs also have shown that they meet the requirements for a preliminary

injunction. See Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Alliance

for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-32 (9th Cir. 2011).


       Plaintiffs also have shown that they are likely to prevail on one or more of their

claims that Plaintiffs are entitled to a declaratory judgment that their shipping practices

satisfy the Third Proviso (46 U.S.C § 55116) of the Jones Act; that CBP violated 19 U.S.C.

§ 1625(c)(1) and (2), by improperly modifying or revoking the agency’s prior interpretive

rulings as to the Third Proviso in issuing the penalty notices without providing any prior

notice or opportunity to comment; that CBP’s imposition of the penalty notices violates

the rights of Plaintiff Kloosterboer International Forwarding LLC (“KIF”) under the Due

Process clause of the Fifth Amendment; and that CBP’s penalty notices violate KIF’s rights

under the Excessive Fines clause of the Eighth Amendment.

KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.                       CASE NO. 3:21-cv-00198 (SLG)
PROPOSED ORDER FOR PRELIMINARY INJUNCTION                                              PAGE 3 OF 6




        Case 3:21-cv-00198-SLG Document 59-2 Filed 09/20/21 Page 3 of 6
       Plaintiffs have suffered a violation of their constitutional rights for which no

showing of irreparable harm is required. In any event, Plaintiffs also have established that

they will continue to suffer irreparable harm from CBP’s issuance of penalty notices and

from the threat of new penalty notices being issued. Plaintiffs are unable to resume their

business operations pending the final determination of this action without an injunction

against any subsequent issuance and enforcement of new penalty notices for any alleged

violations of the Jones Act relating to shipments of seafood products from Alaska to U.S.

destinations through the port of Bayside, New Brunswick (“Bayside”) against Plaintiff KIF

and/or all other companies in the chain of supply, transportation and distribution of seafood

products from Alaska to U.S. destinations through Bayside in reliance on the Third Proviso.

This injunction applies to the enforcement of any penalty notices issued to date, and the

issuance and enforcement of new penalty notices for any alleged violations of the Jones

Act with respect to seafood products shipped before the date of this Order, or shipped at

any time between the date of this Order and the date of the final judgment in this action,

and regardless of the outcome of the action, including any such products that are in ocean

transit or in cold storage facilities in Alaska or Bayside.


       Plaintiffs have demonstrated that their businesses and others in the affected supply

chain who have received penalty notices will suffer irreparable harm in the absence of

injunctive relief, including the imminent destruction of their businesses, loss of jobs and


KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.                    CASE NO. 3:21-cv-00198 (SLG)
PROPOSED ORDER FOR PRELIMINARY INJUNCTION                                           PAGE 4 OF 6




        Case 3:21-cv-00198-SLG Document 59-2 Filed 09/20/21 Page 4 of 6
customers, and a substantial reduction in supply and increased prices to customers for

frozen seafood products.


       Plaintiffs have further established that the balance of equities is in Plaintiffs’ favor,

and a preliminary injunction is in the public interest. Plaintiffs have established that

issuance of new penalty notices for the alleged Jones Act violations will result in

irreparable harm to Plaintiffs’ businesses and related industries throughout the entire frozen

fish supply chain to the eastern United States. In contrast, enjoining issuance of new

penalty notices and the enforcement of the existing penalty notices until the entry of a final

judgment in this action will not cause any material harm to defendants or prejudice their

rights given the extraordinary scope of the penalty notices that have already been issued.


       Accordingly, defendants and all others acting on their behalf or in concert with

them, are enjoined from

       (a) enforcing any of the penalty notices for any alleged violations of the Jones Act

relating to shipments of seafood products from Alaska to U.S. destinations through

Bayside, issued and/or served to date on Plaintiff KIF and/or any other company or person

in the chain of supply, transportation and distribution of frozen seafood products from

Alaska to U.S. destinations through Bayside in reliance on the Third Proviso, and

       (b) issuing and enforcing any new penalty notices for any alleged violations of the Jones

Act relating to shipments of seafood products from Alaska to U.S. destinations through Bayside,

KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.                      CASE NO. 3:21-cv-00198 (SLG)
PROPOSED ORDER FOR PRELIMINARY INJUNCTION                                             PAGE 5 OF 6




        Case 3:21-cv-00198-SLG Document 59-2 Filed 09/20/21 Page 5 of 6
on Plaintiff KIF and/or any other company or person in the chain of supply, transportation

and distribution of frozen seafood products from Alaska to U.S. destinations through

Bayside in reliance on the Third Proviso, made before the date of this Order, including any

such products that are in ocean transit or in cold storage facilities in Alaska or Bayside,

until the entry of a final judgment in this action.

       Defendants and all others acting on their behalf or in concert with them, also are

enjoined, pursuant to the constitutional tolling doctrine (see, e.g., Oklahoma Operating Co.

v. Love, 252 U.S. 331, 338 (1920)), from ever issuing and enforcing any new penalty

notices, for alleged violations of the Jones Act relating in any way to shipments from

Alaska to U.S. destinations through Bayside commenced or completed at any time between

the date of this Order and the date of the final judgment in this action, and regardless of the

outcome of the action, on Plaintiff KIF and/or any other company or person in the chain of

supply, transportation and distribution of frozen seafood products from Alaska to U.S.

destinations through Bayside, including any such products that are in ocean transit or in

cold storage facilities in Alaska or Bayside.



 DATED this _____ day of September, 2021.


                                                      Sharon L. Gleason
                                                      United States District Court Judge



KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.                      CASE NO. 3:21-cv-00198 (SLG)
PROPOSED ORDER FOR PRELIMINARY INJUNCTION                                             PAGE 6 OF 6




        Case 3:21-cv-00198-SLG Document 59-2 Filed 09/20/21 Page 6 of 6
